Case 22-01063-KHK      Doc 1   Filed 11/18/22 Entered 11/18/22 12:17:06    Desc Main
                               Document      Page 1 of 8



                    UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION
_________________________________
NATCHANUN SUWANNAWONG             Case No. 22-11153-KHK
                                  Chapter 7
            Plaintiff,            Adversary Proceeding No.

v.

ALEXANDRA SEMYONOVA-ELLIS

      Defendant.



                            COMPLAINT TO
                    DETERMINE DISCHARGEABILITY OF
                   DEBT PURSUANT TO 11 U.S.C. §§523(a)(2)

      Comes now Natchanun Suwannawong (“Suwannanwong”) by counsel, and

pursuant to 11 U.S.C. §§523(a)(2), 523(a)(4), 523(a)(6), and Rule 7001 of the Federal

Rules of Bankruptcy Procedure, for her Complaint against Alexandra Semyonova-

Ellis (“Semyonova-Ellis”), states as follows:

                                      PARTIES

1.    On August 31, 2022, (the “Petition Date”), Semyonova-Ellis filed a voluntary

      petition under chapter 7 of the Bankruptcy Code in the United States

      Bankruptcy Court for the Eastern District of Virginia.

2.    Suwannanwongis a natural persons and, as set forth below, is a creditor of

      Semyonova-Ellis.

3.    At all times relevant hereto, Snap Car Buying, Inc. (“Snap”) was a licensed

      Motor Vehicle Dealership in the Commonwealth of Virginia.
Case 22-01063-KHK       Doc 1    Filed 11/18/22 Entered 11/18/22 12:17:06             Desc Main
                                 Document      Page 2 of 8



4.    At all times relevant hereto, Semyonova-Ellis was a licensed Motor Vehicle

      Dealer Operator, owning and operating Snap.

5.    At all time relevant hereto, Semyonova-Ellis was an employee and agent of

      Snap.

6.    Semyonova-Ellis personally undertook all of Snap’s actions described below.

                                  Jurisdiction and Venue

7.    This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§157

      and 1334

8.    Venue of this proceeding is proper in this District pursuant to 28 U.S.C.

      §1409.

9.    This adversary proceeding is a core proceeding under 28 U.S.C. §157(b)(2).

                                      Background Facts

10.   On or about April 7, 2020, Plaintiff purchased a 2012 BMW 5 Series, VIN

      WBAFU9C5XCC787114 (the vehicle) from Snap. A copy of the Buyers Order is

      attached hereto as Exhibit 1.

11.   Semyonova-Ellis, together with a sales person named Angel, was the salesperson from

      Snap who dealt with Suwannanwong in all aspects of the transaction.

12.   Snap had purchased the vehicle from Manheim Auto Auction on or about March 13,

      2020.

13.   At the time Snap purchased the vehicle, the vehicle was titled in Pennsylvania.

14.   The Pennsylvania title for the vehicle reflected that the registration would not be released

      or issued as taxed remained unpaid. A copy of the Pennsylvania title for the vehicle is

      attached hereto as Exhibit 2.
Case 22-01063-KHK        Doc 1    Filed 11/18/22 Entered 11/18/22 12:17:06             Desc Main
                                  Document      Page 3 of 8



15.   Snap acquired and accepted the title for the vehicle on or about March 13, 2020.

16.   Semyonova-Elliswas aware of the terms for release/issuance of the Pennsylvania title.

17.   At the time Snap sold the vehicle to Suwannanwong on April 7, 2020, Snap and

      Semyonova-Ellis knew that they could not deliver clear title or register the vehicle in

      Suwannanwong’s name due to the Pennsylvania registration being held because of

      unpaid taxes.

18.   At the time Snap sold the vehicle to Suwannanwong on April 7, 2020, Semyonova-Ellis

      had a copy of the Pennsylvania title in its possession.

19.   As reflected on the Pennsylvania title, there were open re-assignment slots available for a

      re-assignment of title on the Title.

20.   Since Snap and Semyonova-Ellis had the physical title, and there were open slots

      available for re-assignment on the title, Snap was required to provide title assignment and

      odometer disclosures to Suwannanwong on the face of the title.

21.   Rather than re-assigning title to the vehicle on the Pennsylvania title, Snap, by and

      through Semyonova-Ellis, re-assigned the title to Suwannanwong on a Virginia form

      VAD20, Re-assignment of Title by Virginia Motor Vehicle Dealer. A copy of the

      VAD20 Reassignment is attached hereto as Exhibit 3.

22.   Snap and Semyonova-Ellis used the VAD20 Reassignment form rather than the title to

      assign ownership was to conceal and hide from the Suwannanwong the fact that the

      Pennsylvania title had a hold on issuing registration because of unpaid taxes.

23.   When Snap sold the vehicle to Suwannanwong, Snap and Semyonova-Ellis compounded

      the tax problem by not including any sales tax in the transaction or Buyer’s Order.

24.   Semyonova-Ellis told Suwannanwong that the total price on the Buyer’s Order was the
Case 22-01063-KHK       Doc 1    Filed 11/18/22 Entered 11/18/22 12:17:06             Desc Main
                                 Document      Page 4 of 8



      total price she would owe for the purchase of the vehicle.

25.   Snap paid the sales taxes in the amount of $1,132.84 for this transaction to the State on

      May 4, 2020. A copy of the receipt is attached as Exhibit 4.

26.   After several months, Snap and Semyonova-Ellis had not registered the vehicle in

      Suwannanwong’s name.

27.   The temporary tags for the vehicle expired on the vehicle on May 7, 2020.

28.   Suwannanwong repeatedly contacted Semyonova-Ellis demanding that Snap and

      Semyonova-Ellis register to her the vehicle for which she had paid.

29.   On each and every occasion, Semyonova-Ellis would either ignore Suwannanwong’s

      messages and demands, or would provide an excuse or delaying tactic.

30.   Suwannanwong has been unable to drive the vehicle since that May 7, 2020.

31.   In July, 2020, Suwannanwong demanded that Snap and Semyonova-Ellis cancel the

      transaction.

32.   Semyonova-Ellis at that time told Suwannanwong that she needed to pay sales tax for her

      purchase of the vehicle. Defendants assured Suwannanwong that they would promptly

      register the vehicle in her name upon the payment of $1,132.84 in sale taxes.

33.   Suwannanwong therefor paid Snap $1,132.84 for sales taxes. A copy of the receipt for

      payment is attached hereto as Exhibit 5.

34.   Snap and Semyonova-Ellis never paid the outstanding taxes that were owed to

      Pennsylvania when it purchased the vehicle.

35.   Snap and Semyonova-Ellis were thus unable to deliver clear title to the vehicle to

      Suwannanwong.

36.   Semyonova-Ellis knew at every stage of the transaction that Snap could not issue clear
Case 22-01063-KHK        Doc 1     Filed 11/18/22 Entered 11/18/22 12:17:06            Desc Main
                                   Document      Page 5 of 8



      title to the vehicle to Suwannanwong.

37.   Snap and Semyonova-Ellis had no intention of delivering clear title to the vehicle to

      Suwannanwong.

38.   Snap and Semyonova-Ellis have a pattern and practice of selling vehicles to consumers

      and not delivering clear title.

39.   Semyonova-Ellis was aware of Snap’s pattern and practice of selling vehicles to

      consumers and not delivering clear title, yet took no action to correct that pattern and

      practice.

40.   Semyonova-Ellis instituted and perpetrated Snap’s pattern and practice of selling

      vehicles to consumers and not delivering clear title.

41.   Suwannanwong has suffered inconvenience, aggravation and other incidental and

      consequential damages.

42.   As a further result of the above, the vehicle was not conforming to the representations

      and warranties of title.

43.   The above-described acts constitute intentional misrepresentations by Semyonova-Ellis

      and Snap that the they had clear title to the vehicle.

44.   Semyonova-Ellis knew that Snap did not have clear title to the vehicle.

45.   Semyonova-Ellis had a duty to disclose this information to prospective purchasers.

46.   Semyonova-Ellis intentionally failed to disclose the fact that they did not have clear title

      to the vehicle.

47.   Semyonova-Ellis knew that the above referenced representations were false.

48.   Semyonova-Ellis made the above-described misrepresentations, concealment and

      commissions of material facts with full knowledge of their falsity or with reckless
Case 22-01063-KHK        Doc 1   Filed 11/18/22 Entered 11/18/22 12:17:06           Desc Main
                                 Document      Page 6 of 8



      disregard of the truth.

49.   Suwannanwong made the above-described misrepresentations, concealment and

      commissions of material facts with the intent to mislead Suwannanwong.

50.   The above-described actions were committed by Semyonova-Ellis willfully, wantonly

      and with reckless disregard to their truth and to Suwannanwong’s rights.

51.   Semyonova-Ellis intended that Suwannanwong rely upon the above-described

      misrepresentations, concealment and omissions.

52.   Suwannanwong did rely on the above-described representations, concealment and

      omissions of Semyonova-Ellis.

53.   As a direct result of the above, Suwannanwong suffered damages.

54.   Semyonova-Ellis’ actions were in willful, wanton, malicious and reckless disregard of

      Suwannanwong’s property rights.

55.   Semyonova-Ellis is personally liable for the representations, acts and omissions of

      material fact made by Snap described above.

56.   Suwannanwong filed a lawsuit against Semyonova-Ellis and Snap in the General District

      Court of Prince William County for the above actions.

57.   The Court entered a judgment in favor of Suwannanwong and against Semyonova-Ellis

      and Snap, in the amount of $25,000, together with $14,576 in attorney fees, $86 court

      costs and interest at the rate of 6% per annum from April 7, 2020 until paid. The Court

      made a specific finding that “ in the transaction underlying this case the Defendant made

      a fraudulent representation, violated Virginia Code §46.2-1542, violated the Virginia

      Consumer Protection Act, and that the Plaintiff’s damages claimed herein are from this

      violation”. A copy of the judgment order is attached hereto as Exhibit 6.
Case 22-01063-KHK         Doc 1    Filed 11/18/22 Entered 11/18/22 12:17:06             Desc Main
                                   Document      Page 7 of 8



58.    The Court’s order is final and binding.

59.    Suwannanwong’s claims against Semyonova-Ellis are based on Semyonova-Ellis ’s false

       pretenses, false representations and/or actual fraud, and are thus a nondischargeable debt

       pursuant to 11 U.S.C. §523(a)(2)(A).

60.    Semyonova-Ellis is estopped from contesting that she committed fraud as a result of the

       Prince William County General District Court order. See Courtney v Touma, Case No

       19-01123-BFK, United States Bankruptcy Court for the Eastern District of Virginia,

       Alexandria Division, ECF # 91. A copy of this ruling is attached as Exhibit 7.

61.    Semyonova-Ellis is entitled to a credit on the judgment for funds received from the

       dealer bond for Snap, in the amount of $20,000 and $1,500 paid directly by the debtor.

       Wherefore, SuwannanwongNatchanun requests that this Court enter an order finding that

her claims are not dischargeable and are not discharged in Semyonova-Ellis’s bankruptcy, and

for such other relief as the Court deems appropriate.



                                      Respectfully submitted,
                                      /s/ Thomas R. Breeden
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Case 22-01063-KHK        Doc 1    Filed 11/18/22 Entered 11/18/22 12:17:06           Desc Main
                                  Document      Page 8 of 8




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 18th day of November, 2022, I served a copy of the

Complaint to Determine Dischargeability of Debt, by first class mail, postage pre-paid or by

CM/ECF to:

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                                                    /s/ Thomas R. Breeden
                                                    Thomas R. Breeden
